     Case 4:13-md-02420-YGR           Document 2757   Filed 12/09/22   Page 1 of 4




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                                  UNITED STATES DISTRICT COURT
16
                                NORTHERN DISTRICT OF CALIFORNIA
17
                                          OAKLAND DIVISION
18
     IN RE LITHIUM ION BATTERIES
19   ANTITRUST LITIGATION                             Case No. 13-MD-02420 YGR (DMR)

20                                                    MDL No. 2420

21                                                    STATUS REPORT ON SETTLEMENT
     This Documents Relates to:                       DISTRIBUTION
22
     ALL INDIRECT PURCHASER ACTIONS
23                                                    DATE ACTION FILED: Oct. 3, 2012

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     010330-11 1089983 V1
      Case 4:13-md-02420-YGR              Document 2757          Filed 12/09/22      Page 2 of 4




 1             Indirect Purchaser Plaintiffs (IPPs) respectfully submit this Status Report regarding the

 2    settlement claims and distribution process. IPPs include in this report a summary of the scheduled

 3    actions to be taken by the Settlement Administrator (Epiq Class Action & Claims Solutions, Inc.)

 4    to prepare for distribution of the settlement funds.

 5                                            BRIEF BACKGROUND

 6             On November 16, 2022, the Ninth Circuit Court of Appeals issued a Memorandum Opinion

 7    and judgment affirming orders of this Court awarding attorneys’ fees to IPP Class Counsel and

 8    counsel for Objector Frank Bednarz.1 These attorney fee orders relate to settlements finally

 9    approved by this Court. The Ninth Circuit on December 8, 2022 issued a mandate giving effect to

10    its November 16, 2022 judgment.2 Objector Bednarz, who appealed this Court’s award of

11    attorneys’ fees to IPP Class Counsel, has a deadline of February 14, 2023 to file a petition for a

12    writ of certiorari with the Supreme Court asking the Court to review the Ninth Circuit’s judgment.

13                                                STATUS REPORT

14             If Objector Bednarz does not file a timely petition for writ of certiorari, IPP Class Counsel

15    will subsequently submit a motion to this Court on distribution, with the goal of distributing the

16    settlement funds as soon as possible.

17             In the meantime, to prepare for that report and distribution, the Settlement Administrator

18    and IPP Class Counsel will take the following actions:

19             On or before December 16, 2022, the Settlement Administrator will attempt to contact
20              high value claimants who have not responded to previous outreach attempts, to offer these

21              claimants one final opportunity to provide adequate support for their claims.

22             On or before December 16, 2022, the Settlement Administrator will send summary status
23              spreadsheets to parties that filed claims on behalf of others (so-called “third-party filers”).

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26         See In re Lithium Ion Batteries Antitrust Litig., Nos. 21-15120 & 21-15200, Mem. op. at 3-4,
      8 (9th Cir. Nov. 16, 2022).
27        2
           See In re Lithium Ion Batteries Antitrust Litig., Nos. 21-15120 & 21-15200, Mandate (9th Cir.
28    Dec. 8, 2022).
     STATUS REPORT ON SETTLEMENT DISTRIBUTION –
     Case No. 4:13-md-02420-YGR
                                                        -1-
      010330-11 1089983 V1
      Case 4:13-md-02420-YGR              Document 2757          Filed 12/09/22     Page 3 of 4




 1             The Settlement Administrator will set a deadline of January 6, 2023 for responses from
 2              high value claimants and third-party filers.
 3             On or before January 13, 2023, the Settlement Administrator will complete its review of
 4              the responses from high value claimants and third-party filers.
 5             On or before January 20, 2023, the Settlement Administrator will contact claimants who
 6              have large claims but have not provided mailing addresses, to request these addresses so
 7              that the claimants may be issued physical checks. The Settlement Administrator will set a
 8              response deadline of February 10, 2023.
 9             On or before March 3, 2023, the Settlement Administrator will send IPP Class Counsel
10              draft calculations for the settlement distribution for counsel to review.
11             On or before March 17, 2023, IPP Class Counsel will file a motion for distribution of the
12              settlement funds with the Court.
13             IPPs believe that taking the foregoing steps pursuant this timeline will promote an efficient
14    and timely distribution of settlement funds.
15

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     STATUS REPORT ON SETTLEMENT DISTRIBUTION –
28   Case No. 4:13-md-02420-YGR
                                                      - 2-
      010330-11 1089983 V1
      Case 4:13-md-02420-YGR            Document 2757        Filed 12/09/22   Page 4 of 4




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     STATUS REPORT ON SETTLEMENT DISTRIBUTION –
28   Case No. 4:13-md-02420-YGR
                                                  - 3-
      010330-11 1089983 V1
